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                                                                          6                            IN THE UNITED STATES DISTRICT COURT
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                                                                                                   FOR THE NORTHERN DISTRICT OF CALIFORNIA
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                                                                         10   THE REGENTS OF UNIVERSITY OF
                                                                         11   CALIFORNIA and JANET NAPOLITANO,
United States District Court




                                                                              in her official capacity as President of the                    No. C 17-05211 WHA
                                                                              University of California,
                               For the Northern District of California




                                                                         12
                                                                         13                  Plaintiffs,
                                                                                                                                              ORDER RELATING CASES
                                                                         14     v.

                                                                         15   UNITED STATES DEPARTMENT OF
                                                                              HOMELAND SECURITY and ELAINE
                                                                         16   DUKE, in her official capacity as Acting
                                                                              Secretary of the Department of Homeland
                                                                         17   Security,

                                                                         18                  Defendants.
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                                                                         20          On September 15, plaintiffs the Regents of the University of California and Janet

                                                                         21   Napolitano moved to relate State of California v. United States Department of Homeland

                                                                         22   Security, Case No. 17-cv-05235 MEJ (the “Multi-State Action”) to the above-captioned case.

                                                                         23   Thereafter, all parties in both actions stipulated that the cases should be related.

                                                                         24          The undersigned judge finds that State of California v. United States Department of

                                                                         25   Homeland Security, Case No. 17-cv-05235 MEJ is related to the above-captioned case and shall

                                                                         26   be reassigned to the undersigned judge. The parties are instructed that all future filings in the

                                                                         27   reassigned case are to bear the initials of the newly assigned judge immediately after the case

                                                                         28   number. Any case management conference in any reassigned case will be rescheduled by the
                                                                              Court. Unless otherwise ordered, any dates for hearing noticed motions are vacated and must
                                                                          1   be re-noticed by the moving party before the newly assigned judge. Any deadlines set by the
                                                                          2   ADR Local Rules remain in effect, and any deadlines established in a case management order
                                                                          3   continue to govern, except dates for appearance in court, which will be rescheduled by the
                                                                          4   newly assigned judge.
                                                                          5          A case management conference in both cases will be held on THURSDAY, SEPTEMBER
                                                                          6   21 AT 10:30 A.M.
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                                                                          8          IT IS SO ORDERED.
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                                                                         10   Dated: September 18, 2017.
                                                                         11                                                          WILLIAM ALSUP
United States District Court




                                                                                                                                     UNITED STATES DISTRICT JUDGE
                               For the Northern District of California




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